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 5
                             UNITED STATES DISTRICT COURT
 6                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,                            NO. CR15-259-MJP

 9                                 Plaintiff,

10          v.                                            DETENTION ORDER
11
     FRANCISCO FLORES-PANUELAS,
12
                                   Defendant.
13

14   Offenses charged:
15
            Count 1:        Conspiracy to Distribute Controlled Substances
16
            Count 2:        Conspiracy to Commit Money Laundering
17
     Date of Detention Hearing: August 11, 2015
18
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
19
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
20
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
21
            1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
22
     defendant is a flight risk and a danger to the community based on the nature of the pending
23
     charges.
24
            2.      Defendant is a citizen of Mexico.
25
            3.      An immigration detainer has been placed on defendant by the United States
26
     Immigration and Customs Enforcement.

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            4.      Defendant has stipulated to detention, but reserves the right to contest his
 2
     continued detention if there is a change in circumstances.
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            5.      There are no conditions or combination of conditions other than detention that
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     will reasonably assure the appearance of defendant as required or ensure the safety of the
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     community.
 6
            IT IS THEREFORE ORDERED:
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            (1)     Defendant shall be detained and shall be committed to the custody of the
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                    Attorney General for confinement in a correction facility separate, to the extent
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                    practicable, from persons awaiting or serving sentences or being held in custody
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                    pending appeal;
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            (2)     Defendant shall be afforded reasonable opportunity for private consultation with
12
                    counsel;
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            (3)     On order of a court of the United States or on request of an attorney for the
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                    government, the person in charge of the corrections facility in which defendant
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                    is confined shall deliver the defendant to a United States Marshal for the
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                    purpose of an appearance in connection with a court proceeding; and
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            (4)     The Clerk shall direct copies of this Order to counsel for the United States, to
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                    counsel for the defendant, to the United States Marshal, and to the United States
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                    Pretrial Services Officer.
20
            DATED this 11th day of August, 2015.
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23
                                                   A
                                                   JAMES P. DONOHUE
                                                   Chief United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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